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 8                                  UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    EVA D. AL-ZAGHARI, et al.,                       No. 2:24-cv-00283-TLN-CKD (PS)

12                        Plaintiffs,                  ORDER

13               v.
14    STATE OF CALIFORNIA, et al.,
15                        Defendants.
16

17             On June 3, 2024, the Court issued Findings and Recommendations recommending this

18   action be dismissed without leave to amend for lack of subject matter of jurisdiction. (ECF No.

19   17.) These Findings and Recommendations are currently pending before the District Court. On

20   June 5, 2024, Defendant State of California filed an ex parte application for an extension of time

21   to respond to Plaintiff’s First Amended Complaint. (ECF No. 19.) Due to the pending status of

22   this action, Defendant’s request will be denied as moot.

23   Dated: June 7, 2024
                                                     _____________________________________
24
                                                     CAROLYN K. DELANEY
25                                                   UNITED STATES MAGISTRATE JUDGE

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